
Milky Way Acupuncture, P.C., as Assignee of Thomas, Andrew, Respondent,
againstMVAIC, Appellant.




Marshall &amp; Marshall, PLLC (Barbara Caraell of counsel), for appellant.
The Rybak Firm, PLLC (Damin J. Toell of counsel), for respondent.

Appeal from an order of the Civil Court of the City of New York, Kings County (John J. Kelley, J.), entered July 18, 2016. The order denied defendant's motion for summary judgment dismissing the complaint.




ORDERED that the order is reversed, with $30 costs, and defendant's motion for summary judgment dismissing the complaint is granted.
In this action by a provider to recover assigned first-party no-fault benefits, defendant Motor Vehicle Accident Indemnification Corporation (sued herein as MVAIC) appeals from an order of the Civil Court which denied defendant's motion for summary judgment dismissing the complaint.
For the reasons stated in Veraso Med. Supply Corp., as Assignee of Greer Foster Salvanita v MVAIC (___ Misc 3d ___, 2019 NY Slip Op _____ [appeal No. 2016-1629 K C], decided herewith), the order is reversed and defendant's motion for summary judgment dismissing the complaint is granted.
PESCE, P.J., ALIOTTA and SIEGAL, JJ., concur.
ENTER:
Paul Kenny
Chief Clerk
Decision Date: March 08, 2019










